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                    IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT MISSISSIPPI


IN RE: JAMES R. BOREN &MARY E. BOREN                                 CASE NO. 19-12194-JDW

DEBTORS                                                              CHAPTER 7

                                   OBJECTION TO CLAIM

       COME NOW, Debtors’ James R. Boren & Mary E. Boren, by and through counsel, object

to Proof of Claim Number One, (Clm. #1), filed by PYOD, LLC/Resurgent Capital Services in the

amount of $2,341.64 for the following reasons:

       1. Debtor, James R. Boren, owns real estate jointly with his brother and the value of Debtor’s

interest in the property exceeds his allowable exemption amount. Joint Debtor, Mary E. Boren, has

no ownership interest in said property. Therefore, it is the Debtors’ position that any proceeds from

the sale of said property should only be used to pay claims of creditors of Mr. Boren.

       2. Therefore, in reviewing the Claims filed, it was necessary to determine if the claim was

a joint claim or an individual claim, and if an individual claim, which debtor owed the debt.

       3.   Attached to the Proof of Claim One (Clm. #1) is a one-page “Account Supplemental

Data” along with several Bills of Sale and Assignments of Accounts that purport to ultimately

transfer this account to the current creditor, PYOD, LLC/Resurgent Capital Services. Debtors’

counsel was unable to determine which debtor owed the debt from the information provided.

       4. The debtors, by counsel, sent to the claimant a written request for a copy the credit card

agreement or other writing upon which the claim is base, as permitted under FRBP 3001(c)(3)(B)

on March 3, 2020, a copy of which is attached hereto. The claimant has failed to respond to the

request and has not provided a copy of the credit card agreement or other writing.

       WHEREFORE, Debtors respectfully request that this Court disallow the proof of claim filed
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by PYOD, LLC/Regurgent Capital Services and order such other and further relief as is just and

proper.



                                      /s/Karen B. Schneller
                                      KAREN B. SCHNELLER, MSB 6558
                                      SCHNELLER & LOMENICK, P.A.
                                      126 North Spring Street
                                      Post Office Box 417
                                      Holly Springs, MS 38635
                                      662-252-3224/karen.schneller@gmail.com



                                 CERTIFICATE OF SERVICE

        I, Karen B. Schneller, the undersigned attorney for the Debtors, do hereby certify that I
electronically filed the foregoing with the Clerk of the court using the CM/ECF system, and I
hereby certify that I either mailed by United States Postage Service, first class, postage prepaid,
or electronically notified through the CM/ECF system, a copy of the above and foregoing to the
Case Trustee, the United States Trustee and other parties in interest, if any, as identified below.

          PYOD, LLC/Resurgent Capital Services
          P.O. Box 19008
          Greenville, SC 29602

          Dated: May 29, 2020


                                              /s/ Karen B. Schneller
                                              KAREN B. SCHNELLER
